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 6                               UNITED STATES DISTRICT COURT

 7                             NORTHERN DISTRICT OF CALIFORNIA

 8                                   SAN FRANCISCO DIVISION

 9

10   UNITED STATES OF AMERICA,                   ) CRIMINAL COMPLAINT
                                                 )
11           Plaintiff,                          )
                                                 )
12               v.                              )
                                                 )
13 Fernando VIERA,                               )
         a/k/a Oscar F Viera,                    )
14       a/k/a Oscar Fernando Viera Rodriguez,   )
         a/k/a “Tata,”                           )
15                                               )
   Edgardo AGUILAR-CRUZ,                         )
16      a/k/a “Jose”                             )
   Nelson CASTENEDA, and                         )
17 Nolan RAMOS,                                  )
          a/k/a Nelson Ramos,                    )
18                                               )
                                                 )
             Defendants.
19                                               )
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